UST-10 COVER SHEET

 

MONTHLY FINANCIAL REPORT FOR
CORPORATE OR PARTNERSHIP DEBTOR

Case No. KO- Gf 3FF - DEL {= Report ee Sa tI Lh hay, all Sh Alf

 

 

Debtor DaeZZ, LA ?2 p A Suz ZS, Lif

 

 

INSTRUCTIONS: The debtor's monthly financial report shall include a cover sheet signed by the debtor and all UST forms and
supporting documents. Exceptions, if allowed, are noted in the checklist below. Failure to comply with the reporting requirements
of Local Bankruptcy Rule, or the United States Trustee’s reporting requirements, is cause for conversion or dismissal of the case.

The debtor has provided the following with this monthly financial report:

Yes No

 

UST-12 Comparative Balance Sheet or debtor's balance sheet.

The debtor's balance sheet, if used, shall include a breakdown of pre- and post-petition liabilities,

 

breakdown may be provided as a separate attachment to the debtor's balance sheet,

 

UST-13 Comparative Income Statement or debtor's income statement.

 

UST-14 Summary of Deposits and Disbursements

 

UST-14 Statement(s) of Cash Receipts and Disbursements

Continuation A Continuation Sheet shall be completed for each bank account or other source of debtor funds and shall
Sheets include a monthly bank statement and all supporting documents described in the instructions.

 

UST-15 Statement of Aged Receivables

A detailed accounting of aged receivables shall be provided on, orin an attachment to, UST-15.

 

UST-16 Statement of Aged Post-Petition Payables

A detailed accounting of aged post-petition payables shall be provided on, or in an attachment to, UST-16.

 

UST-17 Other Information

When applicable, attach supporting documents such as an escrow statement for the sale of real property or an
auctioneer’s report for property sold at auction. When changes or renewals of insurance occur, attach a copy

of the new certificate of insurance or a copy of the bond.

o
p=

 

CONTACT INFORMATION

Who is the best person to contact-if the UST has questions about this report?
Name a aprof- Chir?

 

Fi -~ SOFS

Telephone a,

Email i afr W. Zz nf 42 WH LOL #LLAT: PIF)

 

 

Monthly Financial Report - Corporate or Partnership Debtor
United States Trustee — Western District of Washington

Page 1 of 15
(Dec. 2017)

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 1of 64
 

 

 

 

A > 4 = . At
rt fa Case Number Shh Fe J BSF]
Debtor sa hi L ( f / i] I A fu / WH Month Ending y ae, Nie Pex. £4

 

i rag

 

 

DEBTOR’S CERTIFICATION

INSTRUCTIONS: The debtor, or trustee, if appointed, must answer questions 1 and 2 and sign this
financial report where indicated below. Only an officer or director has authority to sign a financial report
for a corporate debtor and only a general partner has authority to sign a financial report for a partnership

debtor. Debtor's counsel may not sign a financiai report for the debtor,

Question 1 At month end, was the debtor delinquent on any Yes 0 No
post-petition tax obligation? if yes, listeach detingvent
post-petition tax obligation on page 9.

 

Question 2 For purposes of calculating the debtor's obligation Complete page 6 to calculate TOTAL
under 28 U.S.C. 1939(a}(6) to pay a quarterly fee to the Soa SNS ROTEL
United States Trustee, TOTAL DISBURSEMENTS this canal ‘ a
month from all sources were: s Tia s fe Ati vee -
J Le ne

| certify under penalty of perjury that other information contained in this monthly financial report is

 

 

 

complete, true, Che accurate to the best of my know e, information, and belief.

Debtor's ‘

signature Date 2| /7 [ 12, \
\,

 

Monthly Financial Report - Corporate or Partnership Debtor Page 2 of 15
United States Trustee — Western District of Washington (Dac. 2017}

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 2 of 64

BDL

3
¢
Case Number oq — pay fie

Debtor Shilo dae NY Nampa Month Ending , | fp 4) Ze a

 

 

 

UST-12, COMPARATIVE BALANCE SHEET

 

 

 

 

As of month ending

 

ASSETS
Current Assets
Cash

Cash - Held by Others
(Escrow & Attorney Trust Accounts)

 

 

 

 

Accounts Receivable (net)

 

Notes Receivable

 

Inventory

 

Prepaid Expenses

Other (attach list)
Total Current Assets
Fixed Assets

 

 

 

 

Real Property/Buildings

 

Equipment

 

Accumulated Depreciation
Total Fixed Assets
Other Assets (attach list)
TOTAL ASSETS

 

 

 

 

LIABILITIES
Post-Petition Liabilities

 

 

Taxes Payable

 

Other Accounts Payables

 

Notes Payable

 

Rents, Leases & Mortgages Payable

 

Accrued Interest
Other (specify)
Total Post-Petition Liabilities

 

 

 

 

 

 

 

 

(cont'd. on next page)

 

Monthly Financial Report - Corporate or Partnership Debtor Page 3 of 15
United States Trustee — Western District of Washington (Dec. 2017)

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 3 of 64

 
 

MULLISF DD

=

 

7

 

 

 

sow Shel Don, Nampa ‘tonea

 

 

Anus. of Z|

UST-12, COMPARATIVE BALANCE SHEET (contd.)

 

 

 

As of month ending

 

Pre-Petition Liabilities

 

Unsecured Debt

 

Priority Debt:

 

Taxes

 

Wages

 

Deposits

 

Other

 

Notes Payable (Secured Debt)

 

Total Pre-Petition Liabilities

 

 

 

TOTAL LIABILITIES

 

 

EQUITY

 

Stockholders’ Equity (Or Deficit)

 

Capital Stock

 

Paid-In Capital

 

Retained Earnings

 

Total Stockholder's Equity (Or Deficit)

 

Partner's Investment (Or Deficit)

 

TOTAL LIABILITIES AND STOCKHOLDERS
EQUITY OR PARTNERS INVESTMENT

 

 

 

 

 

Footnotes to balance sheet:

 

 

 

 

Monthly Financial Report - Corporate or Partnership Debtor
United States Trustee — Western District of Washington

Page 4 of 15
(Dec. 2017)

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 4 of 64
SHILO INN, NAMPA SUITES, LLC

Balance Sheet (Income Tax Basis)
Period Ending January 31, 2024

Current assets:
Total Cash
Prepaid Expenses
Accounts Receivable
Total currentassets

Fixed assets,
Land
Land Improvements
Bulldings
Furniture
Fixtures & Equipment
Restaraunt Equip
Signege
Reorganization Costs
Total Gross Fixed Assets
Accumulated Depreciation & Amort
Net Fixed Assets

Other assets
Inventory Linens
Loan Fees
Franchise Deposit
Other Misc Assets
Total Other Assota
Total Assets

ASSETS

134,030.55
24,625 00
64,533 69

—— ee ee

213,189.24

109,859.00
244,223.00
3,362,017.00
53,146.00
1,114,536,00
287 695,00
180,075.00
153,549.00
5,000,059.00
505,041.00

34,671.00
419,069.00
7,830.00
5,332.00
166,896.00

——

885,126.24

LIABILITY AND SHAREHOLDER'S EQUITY

Current liabilties.
Accounts Payable Pre Petition
Accounts Payable Post Petition
Total current liabilities

Long term liabilities:
Notes Payable Mortgages
Notes Payable Other
Total Long Term Liabilities

Other Liabilites
Accrued Expenses.
Accrued Federal Itcnme Tax W/H
Accrued FICA Taxes

Accrued Employer Federal Payroll Taxes
Employer State Payroll Taxes

Accrued

Accrued Local Payroll Taxes
Transient Taxes Payable City
Sales Taxes Payable

Other Liabilities

Total Other Liabilities

Shareholders equity:
Prior Year Adjustments
Retained Eamings
Profit (loss) for period
Total shareholder's equity

Case 20-42348-BDL

100,401.00
72,605.54

173,006.51

3,263,115.00

__ 296,200.00

3,579,315.00

98,717,00
2,086.93
2,320.02
2,394.35

619
429.00
1,435.85
4,306.09
207,088.00,
319,765.43

(20,310.96)
(3,203,891.00)
39,070,683

(3,185,131,33)
886,955.61

ee

Page}

Doc 138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 5 of 64
Case Number
Month Ending

4

€

 

 

 

 

Debtor Shy / D TS 1) )\ hu mM = C5

i Hauer oY /

 

 

UST-13, COMPARATIVE INCOME STATEMENT

 

 

 

For the month of

 

GROSS SALES

 

Less: Returns and Allowances

 

Net Sales

 

Cost of Sales:

Beginning Inventory

Add: Purchases

Less: Ending Inventory
Cost of Goods Sold

 

GROSS MARGIN

 

Other Operating Expenses:

 

Officers’ Salaries

 

Other Salaries/Direct Labor

 

Employee Benefits/Payroll Taxes

 

Insurance

 

Rent

 

General and Administrative

 

NET OPERATING PROFIT (LOSS)

 

Add: Other Income

 

Less: Interest Expense

 

Other Adjustments to Income (Explain)

 

Gain (Loss) on Sale of Assets

 

Net Profit (Loss) Before Taxes

 

Income Taxes

 

NET PROFIT (LOSS)

 

 

 

 

 

Notes:

 

Le atlachicl Capt

 

 

 

Monthly Financial Report - Corporate or Partnership Debtor

United States Trustee — Western District of Washington

Page 5 of 15
(Dec. 2017)

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 6 of 64
SHILO INN, NAMPA SUITES, LLC

Income Statement (Income Tax Basis)
For The Period Ending January 31, 2021

REVENUE:
Gross Sales\Revenue
Less: Retums\Discount
Total Revenue
COST OF SERVICE
Total Cost of Service
GROSS PROFIT

OPERATING EXPENSES:
Payroll - Other Employees

TOTAL OPERATING EXPENSES EXPENSES
Net Gain(Loss) from Operations

Other income and expenses:
interest Expense

Income

Earnings (loss) before Income taxes

Income taxes:
Income Tax Expense

Net earnings (loss) for period

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Current Current Prior

Poriod YTD Year End
76,016.43 76,016.43 232,210.00
0,00 0.00 0.00
76,016.43 76,016.43 232,210.00
0,00 0.00 0,00
0.00 0.00 0,00
76,016.43 76,016.43 732,210.00
30,567.30 30,587.30 58,347.00
4,970.34 1,970.34 6,684.00
135,00 435.00 3,414.00
0.00 0.00 0.00
0,00 0.00 3,073,00
0.00 0.00 40,363.00
0,00 0,00 40,363,00
1,599.79 1,509.79 10,486.00
0.00 0.00 515.00
2,673.37 2,673.37 5,711,00
36,045.50 36,945.60 765, 956,00
39,070.63 39,070.63 63,254.00
0,00 0,00 0.00
0.00 0.00 0.00
0.00 0.00 0.00
0.00 0.00 0.00
39,070.63 39,070.63 63,254.00
0.00 0,00 0,00
.00 0.00 0,00
5070.83 30,070.65 6525.00

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 7 of 64
 

ai i -—
Case Number Ie FJ) PL

Debtor shu Inn haw [>CK_.__ Month Ending \. AanygarBLy
f /

 

 

 

 

UST-14, SUMMARY OF DEPOSITS & DISBURSEMENTS

 

 

 

 

INSTRUCTIONS: 8B = 1 , Prepare a UST-14 CONTINUATION SHEET (see next page) for each bank account
or other source of the debtor's funds. The deposit and disbursement total from each CONTINUATION SHEET will be used to complete this
SUMMARY,

The debtor is responsible for providing an accurate monthly disbursement total for the purpose of calculating its obligation pursuant to 28 U.S.C,
Sec, 1930 (a)(6) to pay statutory fees to the United States Trustee. The disbursement total encompasses all payments made by the
bankruptcy estate during the reporting month, whether made directly by the debtor or by another party for the debtor. It includes checks written
and cash payments for inventory and equipment purchases, payroll and related taxes and expenses, other operating costs, and debt reduction.
Italso includes payments made pursuant to joint check arrangements and those resulting from a sale or liquidation of the debtor's assets. The
only transactions normally excluded from the disbursement total are transfers within the same reporting month between multiple debtor
accounts.

A fee payment is due within 30 days after the end of each calendar quarter, or on April 30, July 31, October 31, and January 31, respectively.
Since the amount billed is an estimate, the debtor is responsible for paying the correct statutory fee based on its actual disbursements for the
calendar quarter, or portion thereof the debtor was in Chapter 11. Failure to pay statutory fees to the United States Trustee is cause for
conversion or dismissal of the case. If you have questions computing the disbursement total, contact the Bankruptcy Analyst assigned to your
case at (206) 553-2000.

 

 

 

Summary of Deposits This Month

Deposits from UST-14 Continuation Sheet(s) oh 57, ok 5D OF

Cash receipts not included above (if any)

 

 

 

 

=< 4I-7J , .
TOTAL RECEIPTS Fi 54 x 5 H+, oY

 

Summary of Disbursements This Month

Af =
Disbursements from UST-14 Continuation Sheet(s) Ai, Le BF. x 7

 

 

Disbursements resulting from asset sales out of the ordinary course
(see Page 13, Question 1)

 

Disbursements made by other parties for the debtor (if any, explain)

 

Note: Enter the amount for TOTAL
DISBURSEMENTS here and on Page 2.

cae p
BG
TOTAL DISBURSEMENTS KG, GPT. BC 1

—

 

 

 

NET CASH FLOW (TOTAL RECEIPTS MINUS TOTAL S57 ZL. ZF 7
DISSBURSEMENTS) a) of fs
a
At the end of this reporting month, did the debtor have any delinquent statutory fees owing to the United States
Trustee? Yes _ No Lilf Yes, list each quarter thatis delinquent and the amount due.

 

 

 

(UST-14 CONTINUATION SHEETS, with attachments, should follow this page.)

 

Monthly Financial Report - Corporate or Partnership Debtor Page 6 of 15
United States Trustee - Westem District of Washington (Dec. 2017)

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 8 of 64
 

 

 

 

 

A r Case Number By )-“44 F ) @ (BD
Debtor Sh lo 7 nny /)am P A ea ecko f pps Ze)
: {—

 

UST-14, CONTINUATION SHEET

 

STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS

 

 

 

 

INSTRUCTIONS:
documents as indicated on the checklist below.

Prepare a CONTINUATION SHEET for each bank account or other source of the debtor's funds and attach supporting

 

 

 

IPTG

Depository (bank) name .
Ctl FICEPZE

Account number

 

eat CAA ee

 

Purpose of this account (select one):

General operating account

| General payroll account
Tax deposit account (payroll, sales, gambling, or other taxes)
Other (explain)

noay

 

 

Beginning cash balance

Ss.20

 

 

 

Add: Transfers in from other estate bank accounts SE
Cash receipts deposited to this account Fe Z Jae? Ps A
Financing or other loaned funds (identify source) oe

 

Total cash available this month

GS (3p -F 7

 

Subtract: Transfers out to other estate bank accounts

Ss

(C2460 LF)

 

Cash disbursements from this account
(total checks written plus cash withdrawals, if any)

N\ELBAID

 

Adjustments, if any (explain)

F26h.7P

 

Ending cash balance

 

Lhe LF FAW

 

 

Does this CONTINUATION SHEET include the following supporting documents, as required: Yes No

A monthly bank statement (or trust account statement);

A detailed list of receipts for that account (deposit log or receipts journal);
A detailed list of disbursements for that account (check register or disbursementjournal); dey

and,

If applicable, a detailed list of funds received and/or disbursed by another party for the 0 J

debtor.

cat rr

Ae =

 

 

UST-14 CONTINUATION SHEET, Number f

of

3G

——

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 9 of 64
CHASE &

JPMorgan Chase Bank, N.A.
P O Box 182051
Columbus, OH 43218 - 2051

00145327 DRE 703 219 03021 NNNNNNNNNNN = 1 000000000 64 0000

SHILO INN, NAMPA SUITES, LLC
11707 NE AIRPORT WAY

 

 

 

January 01, 2021 through January 29, 2021
Account Number: : 10880

 

CUSTOMER SERVICE INFORMATION

 

Web site: www.Chase,com
Service Center: 1-877-425-8100
Deat and Hard of Hearing 1-800-242-7383
Para Espanol: 1-888-622-4273

Intemational Calls: 1-713-262-1679

 

 

 

PORTLAND OR 97220

CHECKING SUMMARY Chase Platinum Business Checking
INSTANCES AMOUNT

Beginning Balance $5.00

Deposits and Additions 29 75,125.89

Checks Paid 3 -63,467.07

Electronic Withdrawals 1 -9,267,70

Ending Balance 33 $2,396.12

Your Chase Platinum Business Checking account provides:

« No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)

« 500 debits and non-slectronic deposits (those made via check or cash in
* $25,000 in cash deposits per statement cycle
¢ Unlimited return deposited items with no fee

There are additional fee waivers and benefits associated with your account —
Agreement for more information.

 

 

 

branches) per statement cycle

please refer to your Deposit Account

 

 

 

 

 

 

 

 

 

 

 

DEPOSITS AND ADDITIONS
DATE DESCRIPTION AMOUNT
01/04 Deposit $7,279.78
01/04 Deposit 63.36
01/05 Orig CO Name: Uprr Orig 1D:2946001323 Desc Date: CO Entry Descr Trade 9,126.70
Pay Sec:CTX Trace#:042000015429501 Eed:210105 Ind !D: Ind
Name:0010Shilo Inn Nampa Trn: 0055429501 Tc
01/06 Deposit 135.56
01/06 Orig CO Name: Uprr Orig |D:2946001323 Desc Date: CO Entry Deser: Trade 1,511.74
Pay Sec:CTX Traca#:04200001 9647373 Eed:210106 IndID: Ind
Name:0006Shilo Inn Nampa Trn: 0069647373Tc
01/07 Orig CO Name: Uprr Orig 1D:2946001323 Desc Date: CO Entry Descr: Trade 2,148.74
Pay Sec:CTX Trace#:042000019695089 Eed:210107 Ind ID: Ind
Name:0006Shilo Inn Nampa Trn: 0079695089Tc
01/08 Orig CO Name: Uprr Orig 1D:2946001323 Desc Date: CO Entry Descr: Trade 1,805.74
Pay Sec'‘CTX Trace#:042000017538643 Eed:210108 Ind ID: Ind
Name:0006Shilo Inn Nampa Tm: 0087538643Tc
01/11 Orig CO Name: Uprr Orig 1D;2946001323 Desc Date: CO Entry Deser:Trade 1,952.74
Pay Sec:;CTX Trace#:042000019841805 Eed:210111 Ind ID: Ind
Name:0006Shilo Inn Nampa Trn: 0119841805Tc
01/12 Deposit 1,023.84
01/12 Deposit 235.44

 

age Tot 4
Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 : Pg. 10 of 64
CHASE &

 

 

January 01, 2021 through January 29, 2021

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Account Number: (0880
DEPOSITS AND ADDITIONS | ominued
DATE DESCRIPTION AMOUNT
O1/12 Deposit 100.11
01/12 Orig CO Name: Uprr Orig 1D:2946001323 Dese Date: CO Entry Deser: Trade 5,662.22
Pay Sec:CTX Trace#:042000019053035 Ead:210112 Ind ID: Ind
Name:0008Shilo Inn Nampa Tm: 0129053035Tc
O13 Orig CO Name:Uprr Orig ID:2946001323 Dese Date: CO Entry Deser Trade 1,658.74
Pay Seo:CTX  Tracoi#:042000012037292 Eed:210113 Ind ID: Ind
Name:0006Shilo Inn Nampa Trn: 0132087292Tc
01/14 Deposit 11,748.88
01/14 Orig CO Name: Uprr Orig 1D:2946001323 Dese Date: CO Entry Deser-Trade 1,756.74
Pay Sec:CTX Trace#:042000018016454 Eed:210114 Ind ID: Ind
Name:0006Shilo Inn Nampa Tm: 0148016454Tc
O1/15 Orig CO Name:Uprr Orig 1D:2946001323 Dese Date: CO Entry Deser: Trade 2,050,74
Pay See:CTX Trace#:042000012432440 Eed:210115 Ind ID: Ind
Name:0006Shilo Inn Nampa Tm: 0152432440Te
019 Orig CO Name: Uprr Orig 1D:2946001323 Desc Date: CO Entry Deser: Trade 2,050.74
Pay Sec:CTX Trace#:042000016160039 Eed:210119 Ind ID; Ind
Name:0006Shilo Inn Nampa Trn; 0196160039Tc
01/20 Orig CO Name:Uprr Orig 1D:2946001323 Desc Date: CO Entry Deser: Trade 7,271.96
Pay Sec:CTX Trace#:042000017904980 Eed:210120 |nd ID: Ind
Name:0008Shilo Inn Nampa Trn: 0207904980T¢
01/21 Orig CO Name: Uprr Orig 1D:2946001323 Desc Date: CO Entry Deser: Trade 1,854.74
Pay Sec:CTX Trace#:042000017865925 Eed:210121 Ind ID: Ind
Name:0006Shilo Inn Nampa Tm: 0217865925Te
01/22 Deposit 117.72
01/22 Orig CO Name:Uprr Orig 1D:2946001323 Dese Date: CO Entry Deser: Trade 2,050.74
Pay Sec:CTX Trace#:042000016032578 Eed:210122 Ind ID: Ind
Name:0006Shilo Inn Nampa Trn: 0226032578Tc
01/25 Orig CO Name: Uprr Orig 1D:2946001323 Desc Date: CO Entry Deser: Trade 1,756.74
Pay Sec:CTX Trace#:042000013564572 Eed:210125 Ind ID: Ind
Name:0006Shilo Inn Nampa Trn: 0253564572Tc
01/26 Orig CO Name: Uprr Orig 1D:2946001323 Desc Date: CO Entry Deser- Trade 5,956.22
Pay Sec:CTX Trace#:042000011406112 Eed:210126 Ind ID: Ind
Name:0008Shilo Inn Nampa Tm: 0261406112Te¢
01/27 Orig CO Name: Uprr Orig 1D:2946001323 Desc Date: CO Entry Deser: Trade 1,658.74
Pay Sec:CTX Trace#:042000014954702 Eed:210127 Ind ID: Ind
Name:0007Shilo Inn Nampa Trn: 0274954702Tc
01/28 Deposit 427.68
01/28 Deposit 105.95
01/28 Deposit 100,11
01/28 Orig CO Name: Uprr Orig 1D:2946001323 Desc Date: CO Entry Deser: Trade 1,756.74
Pay Sec:CTX Trace#:042000015102902 Eed:210128 Ind ID: Ind
Name:0006Shilo Inn Nampa Trn: 0285102902Tc
01/29 Orig CO Name: Uprr Orig 1D:2946001323 Desc Date: CO Entry Deser:Trade 1,756.74
Pay Sec:CTX Trace#:042000011616778 Eed:210129 Ind ID: Ind
Name:0006Shilo Inn Nampa Tm: 0291616778Te
Total Deposits and Additions $75,125.89

Case 20-42348-BDL Doc 138 Filed 02/17/21 Ent. 02/17/21 17:46:59 "Pg. 11 of 64
CHASE &

 

 

 

January 01, 2021 through January 29, 2021

 

 

 

 

 

Account Number: 0880
CHECKS PAID
DATE

CHECK NO, DESCRIPTION PAID AMOUNT
sivas. 01/08 $22,071.62
1019 A 01/15 26,189.45
1020 “4 01/28 15,206.00
Total Checks Paid $63,467.07

\f you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.

4 An image of this check may be available for you to view on Chase.com.

 

[ELECTRONIC WITHDRAWALS}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
01/20 01/20 Online Transfer To Chk ...5360 Transaction#: 11033975610 $9,267.70
Total Electronic Withdrawals $9,267.70
DAILY ENDING BALANCE
DATE AMOUNT DATE AMOUNT DATE AMOUNT
01/04 $7,348.14 01/443 10,638.09 01/22 4,083.20
01/05 16,474.84 01/14 24,143.71 01/25 5,839.94
01/06 18,122.14 01/15 5,00 01/26 11,796.16
01/07 20,270,88 01/19 2,055.74 01/27 13,454.90
01/08 5.00 01/20 60.00 01/28 639.38
01/11 1,957.74 01/21 1,914.74 01/29 2,396.12
01/12 8,979.35
SERVICE CHARGE SUMMARY
Monthly Service Fee $0.00
Other Service Charges $0.00
Total Service Charges $0.00

Case 20-42348-BDL Doc 138 Filed 02/17/21 Ent. 02/17/21 17:46:59 “Pg. 12 of 64

IVT
CHASE &

January 01, 2021 through January 29, 2021
Account Number: 0880

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt,
For personal accounts only; We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared, Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error :

*  Adescription of the error or transfer you are unsure of, why you believe itis an error, or why you need more information,
We will investigate your complaint and will correct any error prompuy. If We take more than 10 business days (or 20 business days for new

accounts) to do this, we will credit your account for the amount you think is In error so that you will have use of the money dunng the time il takes
us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately |f your statement is
Incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
ou must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
ccoun! Rules and Regulations or other a pecabla account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bank, N.A. Member FD

f=) JPMorgan Chase Bank, N.A. Member FDIC

LENDER

 

4
Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 “Bg, 13 of 64
JPMORGAN CHASE & CO.

 

Account: HP sso

 

Post date; 01/08/2021
Amount: $ 2071.62 Check Number: 1018
ne 1018 £0
SHILO INN, NAMPA SUITES, LLC : =, }
fara IC MOS? 30eR wt Fe nlf = : { 2f

Ce

Moe,
Wy Nicaery
Netoriay

00087207 S388H3440450001 USE >O0FT0KN22<

 

he Plaempar $22 077.03
4 elfestcal cacy rn £62] po—— ss fer

“
Square
wf. OR S72

 

1082021 04.35 PM PST 0001025400007

 

et.al Mimalt —s > en

- “wnO poise 322274627 ‘oaeor |

 

 

 

P .
© 2016 JPMoga 286 45348-BDL Doc 138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg.140f64
JPMORGAN CHASE & Co.

 

Post date: 01/15/2021 Account: 880
Amount: $ 26189.45 Check Number: 1019

 

 

 

1018
SHILO INN, NAMPA SUITES, uc

208 Pete eee

 

 

 

 

rom tani epeerhass ' 4
pay on fd Fi SSI 1204 Pe PST Coon
{ 5, (I Hs ieeb ae (00032207 830095440550008 (His acy itKCDOZ«
7 >
. a deste te est] |r: ef urtasésh tone pares edn :
<Fe SUAEEO.: ' 4 §
: _— Wath. ot Ltt. : ; ts ' 3
POOLDAGe HI2227G 27 (.Ba0¢ ® t : 3

 

© 2016 JPMogaRe8§-45348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 15 of 64

7
JPMORGAN CHASE & CO,

 

 

 

 

 

 

 

Post date: 01/28/2021 Account: |
Amount: $ 15206.00 Check Number 1020
1020 z ss nm YP
SHILO INN, NAMPA SUITES, LE - ; ” 3
arn ene os ; 2 / vate 7 ; Fe E ‘ 3
a onre a ae, 3 j i? RN) TS AN PST CO .
rors SG 2H) |b cats ; +
> seer g) poknr201ss66es440420008 USE -901000022-
fy ru: dauk Sie Oem 8 tes i (up h ; Ov gt029 11-49 AM PET GoosoND300002 i S
CHASES, 3 Pll . =:
=== ffl. of flim \\ |i 20% 7S
POO AD 208-13 2227462 osaur . = t é

 

 

© 2016 JPMOGaRe3§.453848-BDL Doc 138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg.160f64

-

ove Maaee >
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE
NAMPA ID 89687

UP Vendor Number: MiRBO942

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid Invoices, reference the paymentiinvaice tracing site located at
http://www.uprr.com/suppliers/accountiny-trace.shtml

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $9,126.70 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/04/21

UP PAYMENT NUMBER: 010020053371 142021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

 

 

ae oe etn ae Gross Amount Disc, Net Amount
01005108524898 11/30/20 /386899000427523R $1,462.74 $0.00 $1462.74
PO 0000753088
01005108528111 IWOV20 [386899000427656R $2,205.74 $0.00 $2,295.74
PO 0000753088
01005108530142 12/02/20 {386899000427772R $1,854.74 $0.00 $1,854.74
PO 0000753088
01005108531271 12/03/20 |386899000427903R $1,609.74 $0.00 $1,609.74
PO 0000753088

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 17 of 64
 

 

 

! BP BSc. oe kiionee Gross Amount Disc. Net Amount
01005108531874 12/04/20 |386899000428026R $1,903.74 $0.00 $1,903.74
PO 0000753088
PAYMENT TOTAL $9,126.70

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 18 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA ID 83687

UP Vendor Number: MiEP942

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the paymentinvoice tracing site located at
http://www.uprr.com/suppliers/account/inv-trace.shtm!

To update your remittance email address or bank account: email upvendor@up,com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $1,511.74 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/05/21

UP PAYMENT NUMBER: 010020053385012021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

UP Doc. Invoice invoice Number
Number Date Remit Message Gross Amount Disc. Net Amount
01005108535238 12/05/20 /|386899000428148R $1,511.74 $0.00 $1,511.74
IPO 0000753088
PAYMENT TOTAL $1,511.74

 

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 19 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA iD 83687
UP Vendor Number: ‘P942

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the paymentinvoice tracing site located at
http://www.uprr.com/suppliers/accountv/inv-trace.shtm!

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $2,148.74 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/06/21

UP PAYMENT NUMBER: 010020053392462021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

UP Doc. Invoice Invoice Number 4
Number Date Remit Message Gross Amount Disc, Net Amount
01005108539578 12/06/20 |386899000428264R $2,148.74 $0.00 $2,148 74
PO 0000753088
PAYMENT TOTAL $2,148.74

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 20 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA ID 83687
UP Vendor Number: [P942

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for pald invoices, reference the payment/invoice tracing site located at
http://www.uprr.com/suppliers/account/inv-trace. shtml

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $1,805.74 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/07/21

UP PAYMENT NUMBER: 010020053411142021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

UP Doc, Invoice Invoice Number
Number Date Remit Message Gross Amount Disc. Net Amount
01005108543901 12/07/20 |386899000428384R $1,805.74 $0.00 $1,805.74
PO 0000753088
PAYMENT TOTAL $1,805.74

 

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 21 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE
NAMPA ID 83687

UP Vendor Number: [9942

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the paymenvinvoice tracing site located at
http://www.uprr.com/suppliers/accounvinv-trace.shtm!

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $1,952.74 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/08/21

UP PAYMENT NUMBER; 010020053424182021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

UP Doc. Invoice Invoice Number .
Ninnber Date Remit Message Gross Amount Disc. Net Amount
01005108548281 12/08/20 |386899000428496R $1,952.74 $0.00 $1,952.74
PO 0000753088
PAYMENT TOTAL $1,952.74

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 22 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE
NAMPA ID =: 83687

UP Vendor Number: [e942

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the paymentinvoice tracing site located at
http://www.uprr.com/suppliers/account/inv-trace.shtm|

To update your remittance email address or bank account; email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $5,662.22 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/11/21

UP PAYMENT NUMBER; 010020053438102021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

 

 

he cue. — teow GrossAmount | Disc. Net Amount
01005108552655 12/09/20 /386899000428613R $1,952.74 $0.00 $1,052.74
PO 0000753088
01005108554091 | 12/10/20 |366899000428740R $1,560.74 $0.00 $1,560,74
PO 0000753088
0100510855592 1 12/11/20 |386899000428867R $2,148.74 $0.00 $2,146.74
PO 0000753088
PAYMENT TOTAL $5,662.22

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 23 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE
NAMPA iD 83687

UP Vendor Number: Ms :-2

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid Invoices, reference the payment/invoice tracing site located at
http://www.uprr.com/suppliers/account/inv-trace.shtml

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $41,658.74 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/12/21

UP PAYMENT NUMBER: 010020053444562021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

 

UP Doc. Invoice Invoice Number
Number Date Remit Message Gross Amount Disc. Net Amount
01005108559013 12/12/20 [386899000426987R 31,655.74 $0.00 $1,658.74
PO 0000753068
PAYMENT TOTAL $1,658.74

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 24 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA ID = 83687
UP Vendor Number: [942

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the payment/invoice tracing site located at
http://www.uprr.com/suppliers/account/iny-trace.shtml

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $1,756.74 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/13/21

UP PAYMENT NUMBER: 010020053453842021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

UP Doc. Invoice Invoice Number
Number Date Remit Message Gross Amount Disc. Net Amount
01005108564896 12/13/26 (386899000429113R $1,756.74 $0.00 $1,756.74
PO 0000753088
PAYMENT TOTAL $1,756.74

 

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 25 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE
NAMPA ID 83687

UP Vendor Number: M9942

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the paymentinvoice tracing site located at
http://(www.uprr.com/suppliers/account/inv-trace.shtm!

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $2,050.74 HAS BEEN MADE TO YOUR ACCOUNT, IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/14/21

UP PAYMENT NUMBER; 010020053467562021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

 

UP Doc. Invoice Invoice Number
Number Date Remit Message Gross Amount Disc. Net Amount
01005108571123 12/14/20 |386899000429226R $2,050.74 $0.00 $2,050.74
PO 0000753088
PAYMENT TOTAL $2,050.74

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 26 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA ID 83687
UP Vendor Number; [O42

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the paymentinvoice tracing site located at
htto://www.uprr.com/suppliers/account/inv-trace.shtml

To update your remittance email address or bank account: email upvendor@up,com
Other questions: email upmaterialinvoices@up,com

A PAYMENT OF $2,050.74 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/15/21

UP PAYMENT NUMBER; 010020053481892021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

UP Doc. Invoice Invoice Number
Number Date Remit Message Gross Amount Disc, Net Amount
01005108574621 12/15/20 [386899000429347R $2,050.74 $0.00 $2,050.74
|PO 0000753088
PAYMENT TOTAL $2,050.74

 

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 27 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE
NAMPA ID 83687

UP Vendor Number: [R9942

Do Not Respond to this emall.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the payment/invoice tracing site located at
htto://www.uprr.com/suppliers/account/inv-trace.shtml

To update your remittance email address or bank account: email upvendor@up,com
Other questions: email upmaterialinvoicas@up.com

A PAYMENT OF $7,271.96 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/19/21

UP PAYMENT NUMBER; 010020053491822021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

 

 

 

pierces — on heen Gross Amount Disc. Net Amount
01005108579531 12/16/20 |386899000428471R $1,952.74 50,00 $1,952.74
PO 0000753088
01005 108581605 12/17/20 |386899000429595R $1,413.74 $0.00 $1,413.74
PO 0000753088
01005108582953 12/18/20 |386899000429714R $2,344.74 $0.00 $2,944.74
PO 0000753088
01005108566332 | 12/19/20 |386899000429835R $1,560.74 $0.00 $1,560.74
PO 0000753088
PAYMENT TOTAL $7,271.96

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 28 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE
NAMPA iD 83687

UP Vendor Number: [P9942

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the payment/invoice tracing site located at
http://www.uprr.com/suppliers/accounvinv-trace.shtmi

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

APAYMENT OF $1,854.74 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/20/21

UP PAYMENT NUMBER: 010020053501872021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

 

UP Doc. Invoice Invoice Number
Number Date Remit Message Gross Amount Disc. Net Amount
01005108592244 12/20/20 |386899000429953R $1,854.74 $0.00 $1,864.74
IPO 0000753088
PAYMENT TOTAL $1,854.74

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 29 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA ID 83687
UP Vendor Number: 9942

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the paymentinvoice tracing site located at
http://www.uprr.com/suppliers/account/inv-trace.shtm!

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvolces@up.com

A PAYMENT OF $2,050.74 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED; 01/21/21

UP PAYMENT NUMBER: 010020053512392021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

UP Doc. Invoice Invoica Number :
Number Date Remit Message Gross Amount Disc. Net Amount
01005108596445 12/21/20 |386899000430073R $2,050.74 $0.00 $2,050.74
PO 0000753088
PAYMENT TOTAL $2,050.74

 

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 30 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA ID 83687
UP Vendor Number: Hes-2

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the payment/invoice tracing site located at
http://www.uprr.com/suppliers/account/inv-trace.shtml

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $1,756.74 | HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/22/21

UP PAYMENT NUMBER: 010020053525712021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

UP Doc. Invoice Involce Number ‘
Number Date Remit Message Gross Amount Disc. Net Amount
01005108600784 12/22/20 |386899000430192R $1,756.74 $0.00 $1,756.74
PO 0000753088
PAYMENT TOTAL $1,756.74

 

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 31 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA ID 83687
UP Vendor Number; 942

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the payment/invoice tracing site located at
http://www.uprr.corm/suppliers/accountinv-trace.shtm!

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $5,956.22 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/25/21

UP PAYMENT NUMBER: 010020053540012027

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

 

 

ete oe Rant Mecwone GrossAmount | Disc, Net Amount
01005108605586 12/23/20 5491000430323R $7,854.74 $0.00 $1,854.74
PO 0000753088
0100510808203 | 12/24/20 |225491000430450R 31,054.74 $0.00 $1,854.74
PO 0000753088
0700510809419 | 1225/20 |z25491000490571R $2,286.74 $0.00 $2,246.74
© 0000753088
PAYMENT TOTAL $5,956.22

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 32 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA ID 83687
UP Vendor Number: [P9942

Do Not Respond to this email.

To download past and current remittance detall into an excel format and to determine contact
information for paid invoices, reference the payment/invoice tracing site located at
http//www.uprr.com/suppliers/account/inv-trace.shtm!

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $1,658.74 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/26/21

UP PAYMENT NUMBER: 010020053548462021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

 

Tae Keo Navi eet Gross Amount Disc. Net Amount
01005108613722 12/26/20 |225491000430677R $1,609.74 $0.00 $1,609.74
PO 0000753088
01005108613720 12/26/20 |225491000430678M $49.00 $0.00 $49
PO 0000753088
PAYMENT TOTAL $1,658.74

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 33 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA 10 83687

UP Vendor Number: e:2

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the payment/invoice tracing site located at
http://www.uprr.com/suppliers/accountiny-trace,.shtm!

To update your remittance email address or bank account: email upvendor@up,com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $1,756.74. | HASBEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/27/21

UP PAYMENT NUMBER: 010020053556842021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

UP Doc. Invoice Invoice Nurnber .
Number Date Remit Message Gross Amount Disc, Net Amount
01005108618669 12/27/20 |225491000430787R $1,756.74 $0.00 $1,756.74
PO 0000753088
PAYMENT TOTAL $1,756.74

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 34 of 64
' SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA ID 83687
UP Vendor Number: [S942

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid Invoices, reference the payment/invoice tracing site located at
http://www.uprr.com/suppliers/account/iny-trace.shtml

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $1,756.74 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/28/21

UP PAYMENT NUMBER: 010020053570152021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

UP Doc. Invoice Invoice Number .
Number Date Remit Me Gross Amount Disc. Net Amount
01005408623057 {2/28/20 |225491000430900R $1,756.74 $0.00 $1,756.74
PO 0000753088
PAYMENT TOTAL $1,756.74

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 35 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA ID 83687
UP Vendor Number: P42

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the paymentinvoice tracing site located at
http://www.uprr.com/suppliers/account/inv-trace.shtml

To update your remittance email address or bank account: emall upvendor@up.com
Other questions; email upmaterialinvoicaes@up.com

A PAYMENT OF $1,707.74 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR ACCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 01/29/21

UP PAYMENT NUMBER: 010020053580882021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

 

 

UP Doc. Invoice Invoice Number
Number Date Remit M = Gross Amount Disc. Net Amount
01005108627622 | 12/29/20 |2254910004a1022R 31,707.74 $0.00 $4,707 74
PO 0000753088
PAYMENT TOTAL $1,707,74

 

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 36 of 64
SHILO INN NAMPA SUITES LLC
1401 SHILO DRIVE

NAMPA ID 83687
UP Vendor Number: | EEE

Do Not Respond to this email.

To download past and current remittance detail into an excel format and to determine contact
information for paid invoices, reference the payment/invoice tracing site located at
http:/Awww.uprr.com/suppliers/account/inv-trace.shtml!

To update your remittance email address or bank account: email upvendor@up.com
Other questions: email upmaterialinvoices@up.com

A PAYMENT OF $4,927.22 HAS BEEN MADE TO YOUR ACCOUNT. IT WILL BE
DEPOSITED INTO YOUR AGCOUNT WITHIN 3 BUSINESS DAYS

PAYMENT PROCESS INITIATED: 02/01/21

UP PAYMENT NUMBER: 010020053596792021

UNION PACIFIC RAILROAD
1400 DOUGLAS STREET
OMAHA, NE 68179

 

 

 

 

 

 

aa a = Fock heeere Gross Amount Disc, Net Amount
01005108632750 12/30/20 |225491000431152R $1,609.74 $0,00 $1,609.74
PO 0000753088
01005108634297 12/31/20 |225491000431316R $1,854.74 $0,00 $1,854.74
PO 0000753088
01005108835987 01/01/21 |225491000431440R $1,462.74 $0,00 $1,462.74
PO 0000753088
PAYMENT TOTAL $4,927.22

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 37 of 64
 

 

 

 

 

 

Snarrs TAY? LE
ett a
Sheik From, ammpn nn PEE
Debtor, LEO /L £947 / )ASP7LICA_Month Ending Jepsen rf th /
= 7
UST-14, CONTINUATION SHEET

 

 

STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS

 

 

INSTRUCTIONS: Prepare a CONTINUATION SHEET for each bank account or other source of the debtor's funds and attach supporting
documents as indicated on the checklist below.

 

 

 

 

 

 

 

 

Depository (bank) name LO. Pe Af yee SMtE DF = PilOL FUE
Account number lam (FE ie é Lp: Se ee %
VG F

Purpose of this account (select one): DLPYEV PH [ PS5ES5 aOR ES. J4 EC 74/0 i
O General operating account f
O General payroll account
CO Tax deposit account (payroll, sales, gambling, or other taxes)
O Other (explain)

Me fof he “It
Beginning cash balance y aS / G o 7 . x

Add: Transfers in from other estate bank accounts —F-

 

Cash receipts deposited to this account 5) f “Sy, as
Financing or other loaned funds (identify source)

Total cash available this month MEF. FBS . FO

Subtract: Transfers out to other estate bank accounts

. ey,
See te iad Nee reer

‘ >
Adjustments, if any (explain) oe
VP, 2he-F 3.

 

 

 

 

a

 

 

 

 

Ending cash balance ban

Does this CONTINUATION SHEET include the following supporting documents, as required: Yes No
A monthly bank statement (or trust account statement); Ar o
A detailed list of receipts for that account (deposit log or receipts journal); o
A detailed list of disbursements for that account (check register or disbursement journal); o
and,

If applicable, a detailed list of funds received and/or disbursed by another party for the o fe
debtor

 

 

 

UST-14 CONTINUATION SHEET, Number _ / of Z ig

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 38 of 64
pve ar.

P.O. Box 1800
Saint Paul, Minnesota 55101-0800

3246 TRN S

“
ys
yee

000043005 01 AB 0.428 000638710147664 P Y
ESTATE OF SHILO INN NAMPA SUITES LLC
DEBTOR IN POSSESSION

BANKRUPTCY CASE # 20-42349-8DL

1401 SHILO OR

NAMPA ID 83687-3065

T

24-Hour Business
Solutions:

U.S. Bank accepts Relay Calls

Internet:

Account Number.
1043

Statement Period:
Jan 4, 2021
through

Jan 29, 2021

Page 1 of 4

To Contact U.S. Bank

1-800-673-3555

usbank.com

 

[FORMATION YOU SHOULD KNOW

Thank you for choosing U.S. Bank. We would like to inform you of upcoming changes that may impact your account. The chant
below lisis account modifications that go into effect beginning January 1, 2021.

To determine if these changes will impact you, review the ‘Analysis Service Charge Detail’ section of this statement for your

current usage of these services. This is typically found

on the last page.

If you have any questions or would like to discuss your account options, please call us at 1.800.673.3555. We accept relay

calls.

 

w (as Of January 1, 2021)

 

 

 

5 vy):
Silver Business Checking Accounts - $5.00
A Saal Business Sarrnnne eae ~ Free.

  

Image Statements (Front and peak

oe rot Buse te irl eae ey pha

 
 

38
ae
ao
33
O%
_
E
wo
&
'
RS
as
oS
°

 

. “Front

 

an “Paper Statement

‘doe Statements (Front and Back"):
Silver Business Checking Accounts - $8.00
‘Sole Business Sheek ig Accounts - $3. 00.

 

 Vnsioe Statornenis (Front and: Back):
Silver Business Checking Accounts - $8.00
_ Gold Business Checking Accounts - $3,00
Non-Profit Business Checking ee ? Lee
Statement available “2021.

 

 

  

  

a eT it
' Retumed Check (Per Item) - $14.00

 

Returned Check (Per item) - $15.00 o

 

 

Branch Cash Services
 Coinand Currency Orders:
"Currency Ordered (per strap) - $0.80 a
- Loose Currency Ordered (per $100) - $0,20-—
Loose Coin Ordered (per bag) - $6.00
_ Rolled Coin Ordered (per roll) - $0.20.
- Rolled Coin Ordered (per box) - $6.00

Cash Deposits:
Coin Deposited (per roll) - $0.15

a Mixed Coin Deposited tobe bagk: $41 00 :

  

_.. Branch Cash'Services _
 Goin.and Currency Orders; _
- Currency Ordered (per strap) - $0.85
Loose Currency Ordered (per $100) - $0.25
"Loose Coin Ordered (per bag) - $7.00 .

Rolled Coin Ordered (per roll) - $0.25

"Rolled Coin Ordered (per box) - $7.00

Gash Deposits:
ieee: Denbslted: (per roll) = $0.20 |
ae | Fed Ready Coin Deposit -$4.00
Loose Mixed Coin Deposited (per bag) - $12.00

 

 

Datemalcts Process Fee for U.S, Bank Debit Card.

2% of the purchase amount.

 

 

International Process Fee for U.S, Bank Debit Card
3% of the purchase amount

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 39 of 64
~ eh Botcnd cs a oes
CLS ivweal ant. To keep track of all your transactions, you should balance your account every month, Please
examine this statement immediately, We will assume that the balance and transactions shown are

correct unless you notify us of an error,

itstanding Deposits
\TE

  
    

1, List any deposits thal do not appear on your statement in the Outstanding Deposits section at
the left. Record the total.

2, Check off in your checkbook register all checks, withdrawals (including Debit Card and ATM)
and automatic payments that appear on your statement. Withdrawals that are NOT checked off

ITAL should be recorded in the Outstanding Withdrawals section at the left. Record the tolal.

   

itstanding Withdrawals 3, Enter the ending balance shown on this statement. 3
\TE JAMOUNT 4. Enter the total depasits recorded in the Outstanding Deposits saction. &
5. Total lines 3 and 4. $
6. Enter the total withdrawals recorded in the Outstanding Withdrawals section 5
7, Subtract line 6 from line 5. This is your balance. $

8, Enter in your register and subtract from your register balance any checks, withdrawals or other

debits (Including fees, ifany) that appear on your statement but have not been recorded in your
register,

9, Enter in your register and add to your register balance any deposits or other credits (including
Interest, If any) that appear in your statement but have not been recorded in your register,

10. The balance in your register should be the same as the balance shown in #7. If it does not
match, review and check all figures used, and check the addition and subtraction In your register.
If necessary, review and balance your statement from the previous month.

|PORTANT DISCLOSURES TO OUR CONSUMER CUSTOMERS

Case of Errors or Questions About Your Checking, Savings, ATM, Debit Card, ACH, Bill Pay and Other Electronic Transfers

vou think your statement or receiptis wrong or if you need more information about a transfer on the statement or receipt, we must hear from you no later than 60 days* after we sent you

7 FIRST statement on which the error or problem appeared. Telephone us at the number listed on the frant of this statement or write to us at U.S. Bank, EP-MN-VWS5D, 60 Livingston

8, St. Paul, MN 55107,

Tell us your name and account number.
Describe the error or the transier you are unsure about, and explain as Clearly as you can why you believe there is an error or why you need more Information.

Tall us the dollar amount of the suspected error.

2 will determine whether an etror occurred within 10 business days after We hear from you and will correct any error promptly, If we need more time, we may take up to 45 days to
‘esligate your complaint. For errors involving new accounts, point-of-sale, or foreign-initiated transactions, we may take up to 90 days to investigate your complaint, If we decide to do this,
| will credit your account within 10 business days for the amount you think is in error, so that you will have the use of the money during the time it takes Us lo complete our investigation. If
ask you to put your complaint or question In writing and we do not receive it within 10 business days, we may not credil your account.

*Please note; Paper draft and paper check claims must be disputed within 30 days per Your Deposit Account Agreement,

PORTANT DISCLOSURES TO OUR BUSINESS CUSTOMERS
rors related to any transaction on a business account will be governed by any agreement between us and/or all applicable rules and regulations governing such transactions, including the

es of the National Automated Clearing House Association (NACHA Rules) as may be amended from time to time. i you think this statement Is wrong, please jelephone us at the number
‘ed on the front of this statement immediately.

INSUMER BILLING RIGHTS SUMMARY REGARDING YOUR RESERVE LINE

hat To Do If You Think You Find A Mistake on Your Statement

vou think there is an error on your statement, write to us al:

5. Bank, P.O. Box 3528, Oshkosh, WI 54903-3528.

your letter, give us the following information:

Account information: Your name and account number,

Dollar Amount: The dollar amount of the suspected error.

Description of problem: If you think nere Is an error on your bill, describe whal you believe is wrong and why you believe il is a mistake.
‘U must contact Us within 60 days after the error appeared on your statement,

\U must notify us of any potential errors in writing. You may call Us, but if you do we are not required (o investigate any potential errors and you may have to pay the amount In question
iile we Investigate whether or nol there has been an error, the following ere true;

We cannottry to collect the amount in question, of report you as delinquent on that amount

The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a mistake, you will nol nave to
pay the amount in question or any interest or other fees related to thal amount,

While you do not have to pay the amount in question, you are responsible for the remainder of your balance,
We can apply any unpald amount against your credit limit.

serve Line Balance Computation Method; To determine your Balance Subject to Interest Rate, use the dates and balances provided In the Reserve Line Balance Summary section
& dale next fo ihe first Salance Subject to interests day one for thal balance and is applicable up to (bul not Including) the date of the next balance (if there |s one), We multiply the
lance Subject to Interest by the number of days itis applicable and add them up to gat the same number of days In the billing cycle, We then divide the result by the number of billing

ys in the cycle. This is your Balance Subject to Interest Rate. Any unpaid interest charges and unpaid fees are not included in the Balance Subject to Interest. The "INTEREST
{ARGE*** begins from the date of each advance.

=PORTS TO AND FROM CREDIT BUREAUS FOR RESERVE LINES
3 may repert information about your account to credit bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report
INSUMER REPORT DISPUTES

2 may report information about account activity on consumer and small business deposit accounts and consumer reserve lines to Consumer Reporting Agencies (CRA). As a result, this
\y prevent you from obtaining services at other financial institutions, If you belleve we haye inaccurately reported Information ta a CRA, you may submit a dispute by calling 844.624.8230
by writing lo: U.S. Bank Attn: Consumer Bureau Dispute Handling (CBDH), P.O, Box 3447, Oshkosh, Wi 54903-3447. In order for Us to aesist you with your dispute, you must provide!

ur name, address and phone number; the account number; the specific information you are disputing; the explanation of why it is incorract; and any supporting documentation (e.9.,
(davit of identity theft), if applicable,

LENDER

amber FDIC
Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 40 of 64
DEBTOR IN POSSESSION

A »
BANKRUPTCY CASE # 20-42349-BDL REE NATE

= Lv an.

 

 

 

 

 

 

1401 SHILO DR 4043
NAMPA ID 83687-3065 Statement Period:
— Jan 4, 2021
through
Jan 29, 2021
: Page 2 of 4
.S. BANK SILVER - BUSINESS CHECKING | Hee Member FDIC
;, Bank National Association Account Number r NN o-
scount Summary
# Items
ginning Balance on Jan4 $ 105,888,328 Number of Days in Statement Period 31
istomer Deposits 3 63,467.07
her Deposits 30 20,664.68
her Withdrawals 4 1,171.93-
iecks Paid 55 48,572.31-
Ending Balance on Jan 31,2021 $ 140,275.89
istomer Deposits
imber Date Ref Number Amount Number Date Ref Number Amount
Jan8 9255178171 22,071.62 dan 28 8953352951 15,206.00
Jan 15 9253843301 26,189.45
Total Customer Deposits $ 63,467.07
‘her Deposits
ite Description of Transaction Ref Number Amount
n 4 Electronic Deposit From BANKCARD-8566 3 558.60
REF=210040104548930N00 1592126793BTOT DE ‘8689
n 4 Electronic Deposit From BANKCARD-8566 580.24
- | REF=210040056371340N00 4592126793BTOT DEP '8689
n 4 Electronic Deposit From BANKCARD-8566 598.32
REF=210040040995970N00 1592126793BTOT DEF ‘8689
n 4 Electronic Deposit From BANKCARD-8566 - 755.64
REF=210040104548940N00  =—>s-: 1592126793BTOT DE 8689
n 5 Electronic Deposit From BANKCARD-8566 672.84
REF=210040222003040N00 1592126793BTOT DEP ‘8689
n 6 Electronic Deposit _ From BANKGARD-8566 1,087.78
REF=210050156118950NO00——t~ 1592126793BTOT DEP 8689
n 7 Electronic Deposit From BANKCARD-8566 221.51
REF=210060166949410N00 1592126793BTOT DE ‘8689 |
n. 8 Electronic Deposit From BANKCARD-8566 ete SEE 184.68
“= REF=210070145001040N00 1592126793BTOT DEP 8689
n 11 Electronic Deposit From BANKCARD-8566 764.67
REF=210110073643660N00 1592126793BTOT DEP 8689
n. 11. Electronic Deposit From BANKCARD-8566 ~ 4,500.52
REF=2101 10073643670NO0  4592126793BTOT DEP !8689
n 11. Electronic Deposit From BANKCARD-8566 1,617.73
REF=210110034527910N00 1592126793BT OT DEF 8689
n 12 Electronic Deposit From BANKCARD-8566 See 468.72
-<©  REF=210110152890900N00 1592126793BTOT DEF 8689:
n 13 Electronic Deposit From BANKCARD-8566 1,668.72
REF=210120145412730N00 1592126793BTOT DE 8689
n 14. Electronic Deposit 3 From BANKCARD-8566 et 4,391.04
= REF=210130151151850N00, -1592126793BTOT DEP 8689
n 15. Electronic Deposit From BANKCARD-8566 353.16
REF=210140143476690NO00 1592126793BTOT DEP 8689
n 19 Rectronic Deposit From BANKCARD-8566. 96.12
- 3 REF=210190033283860N00 1592126793BITOT DEP 3689
n 19 Electronic Deposit From BANKCARD-8566 909,42
REF=2101 9005651 3350N00 1592126793BTOT DE 8689
n 19 Electronic Deposit From BANKCARD-8566 1,242.26
REF=210190050938850N00 1592126793BTOT DET 18689
n 19 Electronic Deposit From BANKCARD-8566 1,346.49
REF=210190050938840N00 1592126793BTOT DEP !8689
n.20: Electronic: Deposit =~ = -. From BANKCARD-8566 940.30
REF=210190208805600N00. —<—«'HZ12GTOBBTOQT DE ‘6689...

Case 20-42348-BDL

Doc 138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 41 of 64
lLpva amt.

DEBTOR IN POSSESSION
BANKRUPTCY CASE # 20-423
1401 SHILO DR

NAMPA ID 83687-3065

49-BDL

Account Number:
4043

Statement Period:
Jan 4, 2021
through

Jan 29, 2021

Page 3 of 4

 

.S. BANK SILVER - BUSINESS CHECKING

i, Bank National Association
‘her Deposits (continued)

 

 

ie eee sien AG ED)
Account Number 043

 

 

 

 

 

 

ite _ Description of Transaction __Ref Number — Amount
n 21 Electronic Deposit From BANKCARD-8566 211.90
REF=210200144471410N00 15921 26793BTOT DE 8689
n 22 Electronic Deposit — _ From BANKCARD-8566 f 394 90
REF=210210127540400N00 _ 1592126793BTOT D 8689
n 25 Electronic Deposit From BANKCARD-8566 402.21
REF=210250017497510N00 1592126793BTOT DE! _ 8689
n 25° Electronic Deposit? From BANKCARD-8566 ~ 486.50
REF=210250052490940N00 ~~ -4592126793BTOT DEF 18689
n 25 Electronic Deposit From BANKCARD-8566 950.95
REF=210250052490930N00 1592126793BTOT DE} ‘8689
n. 26 Electronic Deposit From BANKCARD-8566 | 323.40
as REF=210250142161350N00 1592126793BTOT DEF _ 8689
n 27 Electronic Deposit From AMERICAN EXPRESS 102.34
REF=210260085669050N00 11 34992250SETTLEMENTNAMPASUITE
n 27. Electronic Deposit ‘From BANKCARD-8566 550.56
REF=210260146441300NO00 1592126793BTOT D) 3689
n 28 Electronic Deposit From BANKCARD-8566 177.16
REF=210270170668670NO00 1592126793BTOT DE 28689
n 29-Electronic Deposit — oe From BANKCARD-8566 ; 106.00
ae REF=210280174438530N00 1592126793BTOT EC 18689 ees
Total Other Deposits $ 20,664.68
‘her Withdrawals
ite _ Description of Transaction Ref Number Amount
n 4 Electronic Withdrawal To BANKCARD-8566 $ 349.86-
REF=210040054564700N00 | 1592126793MTOT DIS 18689
n 4 Electronic Withdrawal To SYSCONDAHO!.: 2 556.24-
-REF=210040031460340N00 4743065202VENDOR PAYCust #220384
n 15 Analysis Service Charge 1500000000 14.00-
n 22° Electronic Withdrawal To AMEX EPAYMENT. 251.83-
REF=210210127531280NO00 0005000040ACH PMT COP000004694391 & os
Total Other Withdrawals $ 1,171.93-
recks Presented Conventionally
leck Date Ref Number Amount Check Date Ref Number Amount
00 Jan 27 8654450223 337.72 55074" Jan 7 8954601043 603.91
00* Jan 5 8357733646 369.27 55076° Jan 4 8955255937 938.82
00° Jan 13 8655046341 507.67 55077 Jan 7 8954458481 1,525.50
00° Jan 14 8954568204 699.40 55081* Jan 22 9254296546 365.37
00* Jan 11 8057019016 711.57 55084" Jan 6 8654154802 216.67
00" Jan 27 8654450163 723.08 §5085 Jan +3 8655206846 623,41
00° Jan 27 8654450230 848,13 55086 Jan 14 8954568210 708.79
55* Jan 27 8654450262 464.33 55087 Jan 14 8954452719 210,83
LE Jan 5 8357194450 1,578.00 55088 Jan 14 8954597760 481.60
12 Jan 5 8358192520 9,031,97 55089 Jan 14 8954695427 727.35
13 Jan 7 8953407221 135.00 55091" Jan 13 8655046339 307.81
15* Jan 11 8057693538 1,390.16 55093" Jan 13 8655045289 642.19
16 Jan 12 8355808881 785.40 55095* Jan 14 8954410239 605.72
17 Jan 21 8955053128 6,613.15 55097" Jan 13 8655046342 4,020.71
51° Jan 28 8654450260 626.55 55098 Jan 13 8653803457 1,528.37
00* Jan 5 8358200691 331.17 55099 Jan 43 8654116740 498.86
0g” Jan 13 8655046296 620.47 55100 Jan 14 8951762349 183.24
09* Jan 28 6954235763 658.14 55101 Jan 14 8954598320 723,17
og” Jan 13 8655046350 671.22 55102 Jan 22 9254296545 302.10
026" Jan 4 8955255895 401.86 55103 Jan 15 9252540734 638.25
066* Jan 11 8056720680 99.73 §5104 Jan 13 8655046902 730.37

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59

Pg. 42 of 64
we BOCHE ETE; DEBTOR IN POSSESSION Ae
A nt Number:
BANKRUPTCY CASE # 20-42349-BDL DOORN

1401 SHILO DR 4043
NAMPA ID 83687-3065 Statement Period;

a Jan 4, 2021
through
Jan 29, 2021

“3 Page 4 of 4

.S. BANK SILVER - BUSINESS CHECKING | ee We (CONTINUED)
j, Bank National Association Account Number 4043
vecks Presented Conventionally (continued)

 

 

 

 

 

 

 

1eck Date Ref Number Amount Check Date Ref Number Amount
105 Jan 27 8652618828 239.90 55117 Jan 27 8654420323 712.59
106 Jan 28 8954418562 659.57 55120" Jan 27 8654316004 452.00
107 Jan 28 8954202300 716.60 55121 Jan 28 8951733271 111.69
108 Jan 28 8954108842 408.73 55122 Jan 28 8954236009 729,65
110° Jan 27 8654562405 534.03 55124" Jan 29 9252338958 645,21
113° Jan 27 8654450156 604.91 2000114* Jan 4 8058934660 965.37
116" Jan 28 8954084883 604.43

* Gap in check sequence Conventional Checks Paid (55) $ 48,572.31-
alance Summary
ite Ending Balance Date Ending Balance Date Ending Balance
n 4 105,169.03 Jan 13 111,498.39 dan 22 132,048.03
n § 94,531.46 Jan 14 108,548.73 Jan 25 133,887.69
n 6 95,402.57 Jan 15 134,439.09 Jan 26 134,211.09
n 7 93,359.67 Jan 19 138,033.38 Jan 27 129,947.30
n 8 115,615.97 Jan 20 138,973.68 Jan 28 140,815.10
n 11 117,297.43 Jan 21 132,572.43 Jan 29 140,275.89
n 12 116,980.75

Balances only appear for days reflecting change.

NALYSIS SERVICE CHARGE DETAIL
count Analysis Activity for; December 2020

 

 

 

 

 

Account Number: 1-536-6934-4043 $ 14.00

Account Number: 1-536-6935-0818 $ 0.00

Analysis Service Charge assessed to 1-536-6934-4043 3 14.00

Service Activity Detail for Account Number 43

wvice Volume Avg Unit Price Total Charge
:pository Services

Combined Transactions/Items 123 No Charge

» Reject Checks Paid SS ae z No Charge

Returned Deposited Items 1 14,00000 14.00

Subtotal: Depository Services 14.00

Fee Based Service Charges for Account Number 1-536-6934-4043 $ 14.00

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 43 of 64
Sh Gin BEX.

This page intentionally left blank

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 44 of 64
Submitting Location: 1110101706 NAMPASUITE
Tran Amex soc Submission Trans Total Credits Discount Fees& Settlement Settlement Settlement Payee Payee
Date Date Invoice # Amount Count Charges Amount = Incentives Amount Date Number Merchant# Location ID
SUBMISSIONS
1/24/2021 1/24/2021 329808 $105.95 1 $105.95 $0.00 $3.51 $0.10 $102.34 1127/2021 O26B87778 1110101706 NAMPASUITE
1 $105.95 $0.00 $3.51 $0.10 $102.34

Totals $105.95

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 45 of 64
gravity

PAYMENTS

GRAVITY PAYMENTS
5601 22ND AVE NW 200 SEATTLE, WA 98107

 

 

 

YOuR CARD PROCESSING STATEMENT
Page 1 of 6 THIS 1S NOTA BILL
Statement Period 01/01/21 - 01/31/21
140722/000001/954832/STMT/40722/0000/24 1039 000 01 000000 Merchant Number 8689

 

SHILO INN, NAMPA SUITES, LLC Customer Service _ 1-877-388-5906

 

 

 

1160 SW SHILOLN
PORTLAND OR 97225
Location:
SHILO INN NAMPA SUITES
1401 SHILO DR
NAMPA ID 83687-3065
Rrra An overview of account activity for the statement period,
Page 4 Amounts Submitted $21,758.13
Page 4 Third Party Transactions 0.00
Page 4 Adjustments/Chargebacks 0.00
Page 4 Fees Charged -$486.90
Total Amount Funded to Your Bank $21,271.23
See page 2 for Key Definition of Terms

 

 

(Amount Submitted - Third Party) + Adjustments + Chargebacks + Fees Charged = Amount Funded

 

IMPORTANT INFORMATION ABOUT YOUR ACCOUNT |
)

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 P2QrnA46 df G422 241030R
Page 2 of G

Key Card Processing Terms in Plain Language

Total Amount You Submitted - The total dollar amount of
card transactions submitted and processed during the
Statement Period.

Third-Party Transactions - These are transactions that are
passed directly to third party service providers for processing
and/or funding.

Chargebacks - Those transactions that are challenged or
disputed by a cardholder or card-issuing bank. A Chargeback
equals the transaction amount that is disputed by the cardholder
or card-issuing bank.

Adjustments - The amounts credited to, or deducted from, your
account to resolve processing and billing discrepancies.

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 RignthDdieG4o722 241040R

Interchange Charges - These are the variable fees charged
by Card Organizations for processing transactions, Factors that
affect Interchange Charges include card type, information
contained in the transaction, and how/when the transaction
was processed,

Total Amount Funded to Your Bank - The total dollar
amount of credited/paid to your account during the Statement
Period.

Merchant Number - The unique account number assigned to
every merchant and merchant location. You'll find it at the top of
your statement.

Fees Charged - Total processing fees calculated and charged
to your bank account for the statement month.
 

 

 

 

 

 

 

 

 

Merchant Number 28689 Page 3 of 6
Customer Service 1-877-388-5906 Statement Period 01/01/21 - 01/31/21
SUMMARY BY GARD TYPE (Total Sales You Submitted - Refunds = Total Amount You Submitted)
Total Gross Sales You Submitted Refunds Total Amount You Submitted L
Card Type Frecege tems Amount tems Amount Amount
“MASTERCARD $140.04 43 $6,974.55 $9288 $5,881.67
VISA $108.32 oe - — 7 $5,682.58 a: $374.76 ~ $5,307.82
“VISA DEBIT $137.45 73 $9,749.36. ~$403,03 ~~~ $9,346.33 |
DISCOVER ACO $203.72 6 $1,222.31 0.00 : $1,222.31 |

 

 

 

 

 

AMOUNTS FUNDED BY BATCH| FUNDED By BATCH (Amount Submitted - Third Party) + Adjustments + Chargebacks + Fees Charged = Amount Funded |
Date Batch Submitted Third Party Adjustments/ Fees Funded
Submitted Number Amount Transactions Chargebacks _Charged Amount |
01/01/24 98000141949 $580.24 0.00 0.00 0.00 $580.24
01/03/24 98000341736 $558.60 0.00 0.00 0.00 $558.60 _
01/03/21 98000341737 $755.64 0.00 0.00 0.00 $755.64
01/04/21 98000441750 $672.84 0.00 0.00 0.00 $672.84 |
01/05/24 9800054 1470 $1,087.78 0.00 0.00 0.00 $1,087.78
01/06/21 98000641567 $221.51 0.00 0,00 0.00 $221.51 |
01/07/21 98000741493 $184.68 0.00 0,00 0.00 $184.68
01/08/21 98000841571 $1,617.73 0,00 0.00 0.00 $1,617.73
01/10/21 98001041880 $1,500.52 0.00 0.00 0.00 $1,500.52
01/10/21 98001041881 $764.67 0,00 0.00 0.00 $764.67 |
01/11/24 98001141951 $468.72 0.00 0,00 0.00 $468.72
01/12/21 98001241371 $1,668.72 0.00 0.00 0.06 $1,668.72
01/13/21 98001341559 $1,391.04 0.00 0.00 0.00 $1,391.04
01/14/21 98001441491 $353.16 0.00 0.00 0.00 $353,16
01/15/21 98001541604 $96.12 0,00 0.00 0.00 $96.12 |
01/17/21 98001741921 $1,346.49 0.00 0.00 0.00 $1,346.49
01/17/21 98001741922 $1,242.26 0.00 0.00 0.00 $1,242.26
01/18/21 98001841942 $909.42 0.00 0.00 0,00 $909.42
0119/2) 98001941350 $940.30 0.00 6,00 0.00 $940.30 |
01/20/21 98002041530 $211.90 0.00 0.00 0.00 $2141.90.
01/21/24 98002141470 $394.90 0.00 0,00 0,00 $394.90
01/22/21 98002241622 $402.21 0.00 0.00 0,00 $402.21 |
01/24/24 98002441982 $950.95 0.00 0.00 0.00 $950.95 |
04/24/21 98002441983 $486.50 0.00 0.00 0,00 $486.50
01/25/24 980025419114 $323.40 0.00 0.00 0.00 $323.40.
01/26/21 98002641387 $550.56 0.00 0.00 0.00 $550.56 |
01/27/21 98002741498 $177.16 0,00 0.00 0.00 $177.16
01/28/21 98002841502 $106.00 0.00 0.00 0.00 $106.00
01/31/24 98003141061 $801.14 0.00 0.00 0.00 $801.14 |
01/34/24 98003141062 $992.97 0.00 0.00 0.00 $992.97
Month End Charge 0.00 0.00 0.00 -$486.90 -$486.90
Total $21,758.13 0.00 0.00 ~$486.90

$21,271.23

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 dRgprA8306 646722 241041R
   
     
  

 

CARD PROCESSING STATEMENT

 

Merchant Number 28689 Page 4 of 6

 

 

eS BL eee Statement Period 04/01/21 - 01/31/21

 

 

AMOUNTS SUBMITTED
Date Total
Submitted MASTERCARD VISA VISA DEBIT DISCOVER ACQ Submitted
01/31/21 $5,881.67 $5,307.82 $9,346.33 $1,222.31 $21,758.13
Sub Totals $5,881.67 $5,307.82 $9,346.33 $1,222.31 $21,758.13
Total $21,758.13
ena ee UR MLS T y eae.)
Date Description Amount
No Third Party Transactions for this Statement Period
Total 0.00
ar a
ADJUSTMENTS/CHARGEBACKS
Date Description Amount
No Adjustments/Chargebacks for this Statement Period
Total 0.00
Date Type Description Volume Rate Total
MASTERCARD
01/31/21 CF DISC 1 0.00
01/31/21 CF DUES & ASSESSMENTS “7.77
AUTHS & AVS
01/31/21 CF CPU GTWY 87 0.0700 -6.09
01/31/21 CF INTERCHANGE 101.19
01/31/21 CF NABU FEES 49 0.01950 -0.96
01/31/21 CF ACQ SUPPORT FEE 978.00 0.00848 8.30
01/31/21 CF CROSS BORDER FEE 978.00 0.00599 -5.86
01/31/21 CF PROCSNG INTGRTY IMAGE FEE 12 0.01500 -0.18
01/31/21 CF MC KILOBYTE FEE 40 0.00350 -0.14
01/31/21 CF LOCATION FEE “1.25
01/31/21 CF PRCSNG INTGRTY FNATHI FEE 3 0.04000 -0.12
01/31/21 CF PRCSNG INTGRTY FNATHV FEE -3.16
VISA
01/31/21 CF DISC 1 0.00
AUTHS & AVS
01/31/21 CF CPU GTWY 58 0.0700 4.06
01/31/21 CF INTERCHANGE -162.10
01/31/21 CF ACQR PROCESSOR FEES 58 (0.01950 -1.13
01/31/21 CF MISUSE AUTH FEES 8 0.09000 -0.72
01/31/21 CF TRAN INTEGRITY FEE 29 0.10000 2,90
01/31/21 CF FIXED NETWORK CP FEE 1A -2.90
01/31/21 CF ACO DATA PROC RTN C -0.04
01/31/21 CF CR DUES AND ASSESS 5682.58 0.00140 -7.96

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 pnPRGn 20f64b2 241042R
     
  

 

  
  

Reena ea eee A
YOUR CARD PROCES:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Merchant Number 28689 Page 5 of 6
Customer Service 4-877-388-5906 Statement Period 01/01/21 - 01/31/21
Date Type Description Volume Rate Total
01/31/21 CF FILE TRANSMISSION FEE 0.24
VS OFLN DB
01/31/21 CF DISC 1 0.00
AUTHS & AVS
01/31/21 CF CPU GTWY 99 0.0700 4.93
01/31/21 CF INTERCHANGE -115.84
01/31/21 - CF ACOR PROCESSOR FEES 99 0.01550 1.53
01/31/21 CF TRAN INTEGRITY FEE 50 ~=:0.10000 -5.00
01/31/21 CF ACQ DATA PROC RTND -—0.08
01/31/21 CF DB DUES AND ASSESS 9749.36 0.00130 -12.67
DCVR ACQ
01/31/24 CF bpIsc 1 0.00
01/31/21 CF DUES & ASSESSMENTS ~1.59
AUTHS & AVS
01/31/21 CF CPU GTWY 6 0.0700 -0.42
01/31/21 CF INTERCHANGE _ -25,65
01/31/24 CF DSCV DATA USAGE FEE 6 0.01950 -0.12
01/31/21 CF DSGCV AUTH FEE 6 0.00166 -0.04
01/31/21 CF DISC NETWORK AUTH FEE 6 0.00250 -0,02
Total Card Fees ~486.90
Total Miscellaneous Fees 0.00
Total (Miscellaneous Fees and Card Fees) -$486.90
Fee Type Legend
MISC = Miscellaneous Fees
CF = Card Fees
INTERCHANGE CHARGES
Interchange Gost
Sales Number of Cost Per
Product/Description Total Transactions Rate Transaction Sub Total _
MASTERCARD
DOMACQ FGN STD 224.64 2 0.0160 0.00 -3.60
CORP PROD STD 592.96 3 0.0295 0.10 -17.79
MCTIPLODG 100.11 1 0.0158 0.10 -1.68
CORP REFUND 2 -92.88 1 0.0230 0.00 2.14
ENHANCED TVLIND 339.54 2] 0.0180 0.10 6.31
COFLEETPURCTE! 1,549.16 16 0.0265 0.10 -42.64
COMM BUS2BUS IL 753.36 4 0.0200 0.00 -15.08
MASTERCARD TOTAL 3,466.89 29

 

 

 

 

 

 

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 nihgn&O of 84722 241043R
 

Merchant Number 4 -8689 Page 6 of 6

 

 

Customer Service 1-877-368-5906 Statement Period 01/01/21 - 01/31/21

 

  
 
 

  
 
 
  

interchange Cost
Cost Per

  

Number of

MASTERCARD DEBIT
Mc TIP DEBIT

REGULATFMIDMT1
REGULATEDFDBTCN
MASTERCARD DEBIT TOTAL

   
    
 

908.18
192.24
1,314.36
2,414.78

     
  

    
      
 
 
 
 
 

   

  
  

 

VISA
NON QUAL BUS CR

DOMESTIC STDNQ
US CRDT VCR-CN
US BUS TR1 ELEC
US VSP ELEC
US PRCH TVL SVC
US BUS TRS ELEC
VISA TOTAL

   
   
  

541.90
3,037.38
374.76
117.72
311.98
356.02
1,317.60
5,307.82

   
 

     
      
  

    
         
    
 
 

   

   

     
      
    
 

VISA DEBIT
CPS HTLCRCPR DB

EIRF DB
CPS SMALLTKT DB
US CV DB
HOTEL CAR CP PP
EIRF PP
USREGULATEDEIRF
REG HTL CAR CP
US BUS CP DB
REGBUSCPDB
VISA DEBIT TOTAL

1,675.16
3,679.07
8.72
403,03
117.72
514.08
2,873.84
223.50
329.61
327.66
9,346.33

 

  

    
        
    
 
 

   

   
    
  
    
 
   

 
  

  

 

   

  

   
  
     
   
 

  
   

DISCOVER ACQ
PHTCRRW

CMRCL EL
PHTPRM
DISCOVER ACQ TOTAL

   
   
 

 

765.14
139.32
317.85
1,222.34

   

    
      
 

   

 

Total dollar amount of aggregale reportable payment card transactions furded and hwo party nelwork
eo 4 Gross R EPO RTABLE SALES Sag Bal. transactions, for each participating payee, without regard to any adjustments for credits. cash equyalents,
discount amount, fees, refunded amounts, or any other emounits per respective tax identification rumnber

Month Description Total

JAN Gross Reportable Sales - TIN XXXXx4
2021 YTD Gross Reportable Sales

 

321 $22,628.80
: $22,628.80

  

 

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 pWRGands @f1G422 241044R
2/16/2021 6:33-47PM

 

Shilo Other Page 1
Check/Payment Register Report (BK3030)
From Bank Code [DIP4043} To [DIP4043]
From Payment Date [1/1/2021] To [1/31/2021]
From Application [] To [ZZ]
Print [Details and Summary]
Sort by [Payment Number |
Print Missing Check Numbers [Yes]
Select Payment Type [All, Check, EFT, Cash. Credit Card, Transfer, Service Charge_ Other]
Include Reconciliation Status [All. Cleared, Reversed, Outstanding. Alignment, Non-Negotiable, Continuation, Not Posted, Printed, Void, Cleared with Write-Off, Cleared with Bank Error|
Payment Payment) Sree. Rec. Ree. Vendor/Payee Payee Bank Payment
Number Reversal Date Appl. Status Posted Code Name Amount
Bank: DIP4043 - US Bank DIP Nampa Suites
Payment Type: = Check
15 1/4/2021 AP OS No 26560 STERLING MURDOCK 1,390.16
(\6 1/5/2021 AP OS No 18840 INTERMOUNTAIN GAS COMPANY INC ~ Acct #3233803000-3 785.40
117 1/19/2002] AP OS No 18580 IDAHO STATE TAX COMMISSION 6,613.15
118 to 99999 are missing
100000 1/22/2021 AP VD No 11900 BOOKING.COM BV. U.00
10000 1/22/2021 AP VD No 11900 BOOKING.COM BV 0.00
100000 1/28/2021 AP OS No 11900 BOOKING.COM B VY. 1,146.20
10001 1/22/2021 AP VD No 30960 CENTURYLINK - Acet #1045 0.00
100004 1/22/2021 AP VD No 30960 CENTURYLINK - Acct #1045 0.00
1o000T 1/28/2021 AP OS No 30990 CENTURYLINK - Acct #1045 454.71
100002 1/22/2021 AP VD No 31100 CENTURYLINK - Acct 49866 0.00
100002 1/22/2021 AP VD No 31100 CENTURYLINK - Acct #9866 0,00
100002 1/28/2021 AP OS No 31100 CENTURYLINK - Acct #9866 1,145.08
100003 1/22/2021 AP VD No 16680 EXPEDIA INC 0,00
100003 1/22/2021 AP VD No 16680 EXPEDIA INC 0,00
100003 1/28/2021 AP OS No 16680 EXPEDIA INC 830.30
100004 1/22/2021 AP VD No 24650 SCEPTRE HOSPITALITY RESOURCES, INC - Acct 4NAM-83687 0.00
100004 1/22/2021 AP VD No 24660 SCEPTRE HOSPITALITY RESOURCES, INC - Acct #NAM-83687 0.00
100004 1/28/2021 AP OS No 24660 SCEPTRE HOSPITALITY RESOURCES, INC - Acct #NAM-83687 346.87
100005 1/22/2021 AP VD No 25740 SKYTOUCH INTERNATIONAL. INC 1.0)
100005 1/22/2021 AP VD No 25740 SKYTOUCH INTERNATIONAL, INC 0.00
100005 1/28/2021 AP OS No 25740 SKYTOUCH INTERNATIONAL, INC 336.0
100006 1/22/2021 AP VD No 26040 SPRAGUE PEST CONTROL SPECLALISTS 0.00
100006 1/22/2021 AP VD No 26040 SPRAGUE PEST CONTROL SPECIALISTS 0.00
100006 1/28/2021 AP OS No 26040 SPRAGUE PEST CONTROL SPECIALISTS 135.00

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 52 of 64
 

2/16/2021 633.47PM Shilo Other Hage 2
Cheek/Payment Register Report (BK3030)
Payment Payment/ Sree. Ree. Ree. Vendor/Payee Payee Bank Payment
Number Reversal Date Appl. Status Posted Code Name Amount
100007 1/22/2025 AP VD No 32520 WORLD CINEMA INC - Acct #55461 600
100007 1/22/2021 AP VD No 32520 WORLD CINEMA INC - Acet #85461 0,00
100007 1/28/2021 AP OS No 32520 WORLD CINEMA INC - Acet #55461 992.6]
1ooo0s 1/22/2021 AP VD No 32520 WORLD CINEMA INC - Acet #85461 0.00
100008 1/22/2021 AP VD No 32520 WORLD CINEMA INC - Acct #85461 0.00
10008 1/28/2021 AP OS No 32520 WORLD CINEMA INC - Acct #85461 992,61
Tota! for Payment Type: 15,168 09
Payment Type: Other
PYOOOOOOSS 1/29/2021 AP OOS No 30620 Berkshire Hathaway Homestate Co 524.47
PYOON00067 16/2021 AP OS No 30060 WEX BANK 345 34
PYOODO0075 1/4/2021 AP OS No 26940) SYSCO IDAHO ~ Acet 4220384 556,24
PYO0000077 1/21/2021 AP OS Na 326A) Amencan Express 251 84
Total for Payment Type: 1,877.84
Total for Bank: 17.045 9%

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 53 of 64
2/16/2021 633:47PM Shilo Other
Check/Payment Register Report (BRIV3)

Payment Summary By Bank —————_-—-—__---

Rec. Number Bank Payment
Status of Payments Amount

 

Payment Type: Check

Os I2 15,168,089
VI) 18 0.00
Total: 7. > ea 5,068,090

Payment Type: Other
OS 4 LS77.89
Vol: — SSC~«S 877.89
TotalforBanki ~ ~~ 7045.98

Reconciliation Status Legend:

NP> Net Posted PR Printed NN- Notenegotiable CW: Cleared with Write-Df
CO: Cantimiation MW Reversed CE Cleared Ch: Cleared with Bank Errar
VD: Void OS: Outstanding AL Alignment

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 54 of 64
Payroll Pay Statements: Default CLEARED 24,814.95

 

Default Location 01.13.2021 (6,643.41)
Last Name Ascending 01.14.2021 (3,641.30)
Employee Filter: All Employees 01.15.2021 (638.25)
01/11/2021 07:46a 01.13.2021 (302.10)
Shelly J. Meyer 01.27.2021 (2,303.53)
SHILO INNS (6013713) 01.28.2021 (4,515.36)
01.29.2021 (645.21)
Nampa Suites - 075 6,125.79
First Name LastName Type # Pay Date Net Payment CLEARED NOTES
Regular 55085 01/13/2021 $623.41 01.13.2021
Regular 55086 01/13/2021 $708.79 01.14.2021
Regular 55087 01/13/2021 $210.83 01.14.2021
Regular 55086 01/13/2021 $481.60 01.14.2021
Regular 55089 01/13/2021 $727.35 01.14.2021
Regular 55090 01/13/2021 $507.67
Regular 55091 01/13/2021 $307.81 01.13.2021
Regular 55092 01/13/2021 $620.47 01.13.2021
Regular 55093 01/13/2021 $642.19 01.13.2021
Regular 55094 01/13/2021 $671.22 01.13.2021
Regular 55095 01/13/2021 $605.72 01.14.2021
Regular 55096 01/13/2024 $699.40
Regular 55097 01/13/2021 $1,020.71 01.13.2021
Regular 55098 01/13/2021 $1,528.37 01.13,2021
Regular 55099 01/13/2021 $498.86 01,13.2021
Regular 55100 01/13/2021 $183.24 01.14.2021
Regular 55101 01/13/2021 $723.77 01.14.2021
Regular 55102 01/13/2021 $302.10 01.22.2021
Regular 55103 01/13/2021 $638.25 01.15.2021
Regular 55104 01/13/2021 $730.37 01.13.2021
Regular 55106 01/27/2021 $659.57 01.28.2021
Regular 55107 01/27/2021 $716.60 01.28.2021
Regular 55108 01/27/2021 $408.73 01.28.2021
Regular 55109 01/27/2021 $658.14 01.28.2021
Regular 55110 01/27/2021 $534.03 01.27.2021
Regular 55111 01/27/2021 $464.33
Regular 55112 01/27/2021 $337.72
Regular 55113 01/27/2021 $604.91 01.27.2021
Regular 55114 01/27/2021 $723.08
Regular 55115 01/27/2021 $626.55 01.28.2021
Regular 55116 01/27/2021 $604.43 01.28.2021
Regular 55117 01/27/2021 $712.59 01.27.2021
Regular 55118 01/27/2021 $848.13
Regular 55119 01/27/2021 $1,528.36
Regular 55120 01/27/2021 $452,00 01.27.2021
Requiar 55121 01/27/2021 $111.69 01.28.2021
Regular 55122 01/27/2021 $729.65 01.28.2021
Regular 55123 01/27/2021 $333.33
Regular 55124 01/27/2021 $645.21 01.29.2021
Regular 65125 01/27/2021 $683.77
$24,814.95

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 55 of 64
 

 

 

 

Case Number a 7 / HIB F OS 2/PC—
Seber. > Shy { LoL nin f\a my 4 Month Ending | Aaiaen [ec

 

 

UST-14, SUMMARY OF DISBURSEMENTS (cont'd.)

 

 

 

Payments on Pre-Petition Unsecured Debt (requires court approval)

 

Did the debtor, or another party on behalf of the debtor, make pd payments during this reporting month on

 

pre-petition unsecured debt? Yes 0 No If Yes, list each payment.
Payment Date of court
Payee name Nature of payment Payment date amount approval

 

 

 

 

 

 

 

 

 

 

 

Payments to Attorneys and Other Professionals (requires court approval)

 

Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month to a
professional such as an attorney, accountant, realtor, appraiser, auctioneer, business consultant, or other

professional person? Yes No fe
If Yes, list each payment.

 

Payment Date of court
Professional name Type of work performed Payment date amount approval

 

 

 

 

 

 

 

 

 

 

Payments to an Officer, Director, Partner, or Other Insider of The Debtor

 

Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month to an

 

officer, director, partner, or other insider of the debtor? Yes 0 No Po If Yes, list each
payment.
Payment Purpose of
Payee name Relationship to debtor Payment date amount payment

 

 

 

 

 

 

 

 

 

 

 

 

 

INSTRUCTIONS: Use the last column to describe the purpose of each payment, such as gross wages or salary, reimbursement for business

expenses, loan repayment, advance, draw, bonus, dividend, stock distribution, or other reason for the payment (explain),

 

 

 

Monthly Financial Report - Corporate or ee Debtor Page 7 of 15
United States Trustee — Western District of Washing (Bec. 2017)

Case 20-42348-BDL Doc 138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 56 of 64
 

Case Number

Debtor rcs hy [pL ny t\awm [224 Month Ending
t

 

 

 

 

 

UST-15, STATEMENT OF AGED RECEIVABLES

 

 

 

INSTRUCTIONS; Complete all portions of UST-15, STATEMENT OF AGED RECEIVABLES. unless the debtor asserts the following two
statements are true for this reporting month:

1) At the beginning of the reporting month, the debtor did not have any uncollected receivables from prior months
which includes both pre-petition and post-petition accounts receivable; and,
2) During the reporting month, the debtor did not have any receivables activity, including the accrual of new

accounts receivable, or the collection or writeoff of accounts receivable from prior months.

Check here [] if the debtor asserts that both statements are correct and skip to UST-16, STATEMENT OF POST-PETITION PAYABLES, on
the next page.

 

Accounts Receivable Aging

 

Balance at Current Past due Past due Past due Uncollectible
month end portion 31-60 days 61-90 days over 90 days receivables

 

7

Freee A. Cheer | ae Ra¢Y V2.6 | &-

 

ition | 4 2X 2, Cb 3! , -
roaitanen’ DI,LbT- Alay sey th “q@-| a |S

A

 

 

 

 

 

 

 

roms WSBbhe spl"? |\2atvy, 206) O-

 

Explain what efforts the debtor made during this reporting month to collect receivables over 60 days past due.

 

Does the debtor have any accounts receivable due from an officer, director, partner, or other insider of the debtor?
If yes, explain.

 

Accounts Receivable Reconciliation

 

Closing balance from prior month oS A Z Yi L: wae

 

New accounts receivable added this month Ap Y Bi /. ne

 

Subtotal oe A 5x t SS

 

Less accounts receivable collected < LE2 , SS Uf Te ae ZL

 

 

 

 

Closing balance for current month SE 5 32. “2 G
,: ¢

 

 

Monthly Financial Report - Corporate or Partnership Debtor Page 8 of 15
United States Trustee - Western District of Washington (Dec, 2017)

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 57 of 64

 
Debtor __ swipe yyV) j \a ———

Case Number
Month Ending

 

~

ra

 

tADALT [Lp *
AY

 

care FE

 

 

 

PART A - TAXES

UST-16, STATEMENT OF POST-PETITION PAYABLES

 

 

¢

 

INSTRUCTIONS:

At the end of this reporting month, the debtor did_no’

delinquent tax obligations.

Check here |] if the debtor asserts the statement is correct, and skip to PART B - OTHER PAYABLES on Page 10.

ny unpaid post-petition taxes

Complete both pages of PART A - TAXES unless the debtor asserts the following statementis true for this reporting month:

which includes both current and

 

 

Reconciliation of Unpaid Post-Petition Taxes

 

Type of tax

(1)

Unpaid post-petition
taxes from prior
reporting month

(2)

Post-petition taxes
accrued this month
(new obligations)

 

(3)

Post-petition tax
payments made this
reporting month

(4)

Unpaid post-petition
taxes at end of
reporting month

(Column 1+2-3 = 4)

 

Federal Taxes

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Employee withholding taxes Dax %o x: OIE: F ZF ee

FICA/Medicare--Employee ey 1, 35) — _f, Z. BEF a

FICA/Medicare—Employer /p F323 0 ee 5 = Ay IZ OY

Unemployment Ly) - TGiat ef I Sf ‘ fn ae 7. 5S |
State Taxes

Dept. of Revenue PZ S53 CoZ — a 4 5 ao 57. —

Dept. of Labor & Industries

Empl. Security Dept. Zz fo — Ze SE a = ——
Other Taxes

Local city/county

Gambling

Personal property

Real property, gall z ol ea

one D/bfe? Kx WB 7S By, DELI Ve, DEIE NSLS

Ss fa -é (AN ES Total Unpaid Post-Petition Taxes $_/ 5 s “s77- 3

 

 

 

Monthly Financial Report - Corporate or Partnership Debtor
United States Trustee — Western District of Washington

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 58 of 64

Page 9 of 15
(Dec, 2017)
a 5 ‘ Case Number 2g g- { an ae E oe
Debtor Su | OL Y\ a ) \a 4¥ DAY Month Ending Ji f Lh +7 f - A /

g

 

 

 

 

 

 

UST-16, STATEMENT OF POST-PETITION PAYABLES ‘
PART A - TAXES (cont'd.)

 

 

 

Delinquent Tax Reports and Tax Payments (post-petition only)

 

Taxing agency Tax reporting period Report due date Payment due date Amount due

AL 7

Explain the reason for any delinquent tax reports or tax payments:

 

Monthly Financial Report - Corporate or Partnership Debtor Page 10 of 15
United States Trustee — Western District of Washington (Dec. 2017)

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 59 of 64
A

 

 

 

 

e

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

- Case Number Ly) Wa ZA2 BEPF- — ~5f,
Debtor =) A0) lo ae, ‘ i i Kam 1) Piso Ending Lin th” ef ALiZ
UST-16, STATEMENT OF POST-PETITION PAYABLES
PART B - OTHER PAYABLES

INSTRUCTIONS: Complete both pages of PART B - OTHER PAYABLES unless the debtor asserts that this statement is true for this
reporting month:

Except for taxes and professional fees disclosed in PART A and PART C of this report, respectively, the debtor has no other

unpaid post-petition payables from the current reporting month, or from any prior reporting months.
Check here [if the debtor asserts the statementis correct, and skip to PART C - ESTIMATED PROFESSIONAL FEES on Page 12.
Reconciliation of Post-Petition Payables (excluding taxes and professional fees)
Closing balance from prior month YA BOSE: 5 CF

: 4) ; poe

New payables added this month ZBL A« IS

Subtotal ZZ, Za: 54,4 F
Less payments made this month ‘ a Fs et SS. LE ,

oe
Closing balance for this reporting month $ 7, aa o3 LO5- 5 ae
Breakdown of Closing Balance by Age
: 2 5 ge.
Current portion x5, YL AS
Past due 1-30 days LF, 4A? ao. Fo Ste
Past due 31-60 days
Past due 61-90 days
Past due over 90 days
_— —

Total 3 Te, (ie S« (
For accounts payable more than 30 days past due, explain why payment has not been made:
Monthly Financial Report - Corporate or Partnership Debtor Page 11 of 15
United States Trustee — Western District of Washington (Dec. 2017)

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 60 of 64
 

 

A ae La -" Xk
Case Number L,- “FAIS F ‘i i
a rt

 

 

LD aad ix jf

 

bape hu lp t nV’ V| a YW jPA_ Month Ending
'

 

 

UST-16, STATEMENT OF POST-PETITION PAYABLES
PART B - OTHER PAYABLES (contd.)

 

 

 

INSTRUCTIONS: List each post-petition payable delinquent more than 30 days. Alternatively, attach the debtor's accounts payable aging

reportifihe report; 1) clearly tes pre- st-petition account , and, 2) identifies each delinquent payable by vendor name,

 

invoice date, invoice amount, and payment due date.

 

Delinquent Post-Petition Payables (excluding taxes and professional fees)

 

Vendor name
La

Invoice date Invoice amount

Payment due date

 

L ye

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Monthly Financial Report - Corporate or Partnership Debtor
United States Trustee —- Western District of Washington

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 61 of 64

Page 12 of 15
(Dec. 2017)
Case Number
Month Ending

 

DC

 

EQ- F277

 

 

pebia L lo [nny (\am [PA
v

 

/

 

 

UST-16, STATEMENT OF POST-PETITION PAYABLES

PART C - ESTIMATED PROFESSIONAL FEES

 

 

 

INSTRUCTIONS: Report only post-petition professional fees and expenses.

actual amounts due.

To the extent possible, use billing staternents to report the
If billing statements are not available, use the best information available to estimate the fees and costs.

 

 

 

Type of professional

Amount of retainer
(if applicable)

Fees and expenses
from prior months

Fees and expenses
added this month

Total estimated
fees and expenses
at month end

 

Debtor's counsel

 

Debtor's accountant

 

Debtor's other professional (explain)

 

Trustee's counsel

 

Creditors Committee Counsel

 

Creditors’ Committee other

professional (explain)

 

 

 

 

 

Total estimated post-petition professional fees and costs

 

 

 

 

Monthly Financial Report - Corporate or Partnership Debtor
United States Trustee — Western District of Washington

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 62 of 64

Page 13 of 15
(Dec. 2017)

i AQUA AGA /
 

VF IBGID

 

 

 

 

 

 

 

 

 

tj. Tr /) Case Number .
Debtor Sh pln NV 1l@ LYUPA_L Monthending | tice 21 f KORY
UV 7
UST-17, OTHER INFORMATION
INSTRUCTIONS; Answer each question fully and attach additional sheets if necessary to provide a complete response. Yes No
Question 1 - Sale or Abandonment of the Debtor's Assets. Did the debtor, or another party on we
behalf of the debtor, sell, transfer, or otherwise dispose of any of the debtor's assets during the f

reporting month? Include only sales out of the ordinary course. The debtor must attach an escrow
statement for each sale of real property and an auctioneer's report for each auction.

Escrow Statement
Asset Date of Method of Gross Net Proceeds or Auctioneer's
Description  CourtApproval Disposition Sales Price Received (&Date) Report Attached?
1.
2.
3.
4.

Total

Any disbursements made from escrow or trust accounts from the proceeds of the above transactions should also be
included on the line of UST-14 entitled "Disbursements from sales out of the ordinary course.”

 

 

 

 

 

 

Question 2 - Financing. During the reporting month, did the debtor receive any funds from an A
outside funding source?
Date of Court Approval Amount. Source of
funds Date
Received
Total
Question 3 - Insider Loans/Capital Contributions. During the reporting month, did the debtor Xx
receive any funds from an officer, director, partner, or other insider of the debtor? f
Date of Court Approval Amount. Source of
funds Date
Received
Total
Monthly Financial Report - Corporate or Partnership Debtor Page 14 of 15
United States Trustee — Western District of Washington (Dec. 2017)

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 63 of 64

Pat

‘
 

Case Number LD ~ PISYS SD

DL

 

 

 

Br

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a“ y¥ . = r
ce ¥ / f ae
Debtor hy lo nr) } ) ay ry 2A_ Month Ending fk ALita ttf ACE
T 7
UST-17, OTHER INFORMATION
Yes | No
Question 4 - Insurance and Bond Coverage. Did the debtor renew, modify, or replace any 5 x
insurance policies during this reporting month?
Renewals:
Provider New Premium Is a Copy Attached to this Report?
Changes:
Provider New Premium Is a Copy Attached to this Report?
Were any insurance policies canceled or otherwise terminated for any reason during the reporting ss a
month? if yes, explain.
Were any claims made during this reporting month against the debtor's bond? Answer No if the
debtor is not required to have a bond, ifyes, explain. eS Do
Question 5-Personnel Changes. Complete the following:
Full-time Part-time
Number of employees at beginning of month ee al am
Employees added _~=- wr
Employees resigned/terminated = a
Zi
Number employees at end of month Sf if Ss
Gross Monthly Payroll and Taxes | $ 4 7, SCL =

 

 

Question 6 - Significant Events. Explain any significant new developments during the reporting month.

 

 

Question 7-Case Progress. Explain what progress the debtor made during the reporting month toward

confirmation of a plan of reorganization.

 

 

 

Monthly Financial Report - Corporate or Partnership Debtor
United States Trustee — Western District of Washington

Page 15 of 15

(Dec, 2017)

Case 20-42348-BDL Doc138 Filed 02/17/21 Ent. 02/17/21 17:46:59 Pg. 64 of 64
